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          BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
___________________________________________________


                                                      §
IN RE:                                                §
                                                      §    MDL DOCKET NO. 2179
OIL SPILL BY THE OIL RIG “DEEPWATER                   §
HORIZON” IN THE GULF OF MEXICO ON
                                                      §
APRIL 20, 2010
                                                      §
______________________________________________        §


                                 NOTICE OF RELATED ACTION

To:      Clerk of the Panel
         Judicial Panel on Multidistrict Litigation
         Thurgood Marshall Federal Judiciary Building
         One Columbus Circle, N.E.
         Room G-255, North Lobby
         Washington, D.D. 20002-8004


         Pursuant to J.P.M.L. Rules 7.2(i) and 7.5(e), Defendants Transocean Offshore Deepwater

Drilling, Inc., Transocean Deepwater, Inc., Transocean Holdings, LLC and Triton Asset Leasing

GmbH (“Transocean”) hereby give notice that the case listed in the accompanying Schedule of

Additional Related Actions is a potential tag-along action that relates to the cases which have

been consolidated as In re: Oil Spill By The Oil Rig “Deepwater Horizon” In The Gulf of Mexico

On April 20, 2010, MDL 2179, pursuant to the Panel’s August 10, 2010 Order. The action

identified on the accompanying Schedule of Additional Related Actions was served on

Transocean within the past two weeks.

         A courtesy copy of the Docket Sheet and Complaint for the Related Action identified in

the Accompanying Schedule is filed herewith.

Dated: October 16, 2012                                         Respectfully submitted,


By:      /s/ Steven L. Roberts                            By:   /s/ Kerry J. Miller
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Steven L. Roberts (Texas, No. 17019300)          Kerry J. Miller (Louisiana, No. 24562)
Rachel Giesber Clingman (Texas, No. 00784125)    Frilot L.L.C.
Sutherland Asbill & Brennan LLP                  1100 Poydras Street, Suite 3700
1001 Fannin Street, Suite 3700                   New Orleans, LA 70163
Houston, TX 77002                                Telephone:     (504) 599-8169
Telephone:    (713) 470-6100                     Facsimile:     (504) 599-8154
Facsimile:    (713) 654-1301                     Email:         kmiller@frilot.com
Email: steven.roberts@sutherland.com
Email: rachel.clingman@sutherland.com                          -and-
                                                 Edwin G. Preis, Jr. (Louisiana, No. 10703)
                                                 Preis & Roy PLC
                                                 102 Versailles Boulevard, Suite 400
                                                 Lafayette, LA 70501
                                                 Telephone:     (337) 237-6062
                                                 Facsimile:     (337) 237-9129
                                                 -and-
                                                 601 Poydras Street, Suite 1700
                                                 New Orleans, LA 70130
                                                 Telephone:     (504) 581-6062
                                                 Facsimile:     (504) 522-9129
                                                 Email:         egp@preisroy.com
                                                 -and-
                                                 Brad D. Brian (California, No. 79001)
                                                 Allen M. Katz (California, No. 54933)
                                                 Munger Tolles & Olson LLP
                                                 355 South Grand Avenue, 35th Floor
                                                 Los Angeles, CA 90071
                                                 Telephone:     (213) 683-9100
                                                 Facsimile:     (213) 683-5180, (213) 683-4018
                                                 Email:         brad.brian@mto.com
                                                 Email:         allen.katz@mto.com

Of Counsel:
John M. Elsley (Texas, No. 0591950)
Royston, Rayzor, Vickery & Williams LLP
711 Louisiana Street, Suite 500
Houston, TX 77002
Telephone:    (713) 224-8380
Facsimile:    (713) 225-9945
Email:        john.elsley@roystonlaw.com

Counsel for Transocean Ltd., Transocean
Offshore Deepwater Drilling, Inc., Transocean
Deepwater, Inc., Transocean Offshore Deepwater
Drilling, Inc. and Triton Asset Leasing GmbH
